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IN THE UNITED STATES DISTRICT COURT FILER
FOR THE DISTRICT OF COLORADO UNITED STATES SETACT COURT

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MAR 12 2007

GREGO. 8 EOHAM
JON VAUPEL, CLERK

Civil Action No. 06-cv-02241-BNB

 

Plaintiff,
Vv.

ALBERTO R. GONZALES, United States Attorney General,
MICHAEL CHERTOFF, Secretary of Homeland Security,

DOUGLAS MAURER, USICE Field Office Director for Colorado,
FREDERICK WEGENER, Sheriff of Park County, and

LT. DANIEL MULDOON, Park County Detention Center Administrator,

Defendants.

 

ORDER

 

Plaintiff, Jon Vaupel, was in the custody of the United States Department of
Homeland Security, Immigration and Customs Enforcement (ICE), when he initiated this
action by filing pro se a complaint challenging the conditions of his confinement at the
Park County Detention Center in Fairplay, Colorado, On November 8, 2006, the court
ordered Mr. Vaupel to cure certain deficiencies in this action if he wished to pursue his
claims. Specifically, the court ordered Mr. Vaupel to file his complaint on the proper
form and either to pay the $350.00 filing fee or to file a motion seeking leave to proceed
in forma pauperis pursuant to 28 U.S.C. § 1915. On November 15, 2006, Mr. Vaupel
filed a motion seeking leave to proceed in forma pauperis. That motion will be
granted. Mr. Vaupel has not yet filed his complaint on the proper form. Instead, he has

made repeated requests for extensions of time to cure the deficiencies. Most recently,
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Mr. Vaupel filed a “Motion for Fourth Time Extension to Cure Deficiencies,” on March 6,
2007. Also on March 6, 2007, Mr. Vaupel filed a “Motion for Permission to File by
Facsimile.” Mr. Vaupel seeks leave to file all future motions, pleadings, and notices by
facsimile or electronically because he no longer is in ICE custody and has been
removed to his native country of Australia.

Mr. Vaupel’s “Motion for Permission to File by Facsimile” will be granted to the
extent permitted by the court's local rules. Pursuant to Rule 5.1 of the Local Rules of
Practice of the United States District Court for the District of Colorado-Civil, “[a]
pleading or paper which does not require a filing fee and is no longer than ten pages,
including all attachments, may be filed with the clerk by means of facsimile.” If Mr.
Vaupel wishes to file documents electronically, he must apply to register as a
participant in the court’s electronic case filing system in accordance with the court's
electronic case filing procedures. Such a request is not appropriate in this action.

Finally, Mr. Vaupel’s “Motion for Fourth Time Extension to Cure Deficiencies” will
be granted. Accordingly, it is

ORDERED that the motion for leave to proceed in forma pauperis filed on
November 15, 2006, is granted. It is

FURTHER ORDERED that the “Motion for Permission to File by Facsimile” filed
on March 6, 2007, is granted to the extent allowed by the court's local rules. It is

FURTHER ORDERED that the “Motion for Fourth Time Extension to Cure
Deficiencies” filed on March 6, 2007, is granted. It is

FURTHER ORDERED that Mr. Vaupel shall have up to and including April 13,
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2007, to cure the remaining deficiency in this action. It is
FURTHER ORDERED that, if Mr. Vaupel fails within the time allowed to cure the
remaining deficiency, the action will be dismissed without further notice.
DATED March 12, 2007, at Denver, Colorado.
BY THE COURT:

s/ Boyd N. Boland
United States Magistrate Judge
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. 06-cv-02241-BNB

Jon Vaupel

cio K & P Maczkowiack
11 Cedar Dr.

Dunoon, N.S.W. 2480
Australia

| hereby certify that | have mailed a copy of the ORDER to the above-named
individuals on__#—(7-*?

GREGORY C. LANGHAM, CLERK

 

By:
Si] Peputy Clerk
